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                              UNITED STATES DISTRICT COURT
                                DISTRICT ON CONNECTICUT

 UNITED STATES
                                                   3:18-CR-0009S(SRU)
 v.

 YEHUDI MANZANO                                    OCTOBER 22,2018

                            DEFENDANT'S REQUESTS TO CHARGE

 I.      Jury Nullification

         Although it is your sworn duty to apply the legal principles on which I instruct you

 to the evidence you hear in this courtroom, you, as jurors, have the power to determine

whether the Government has justly prosecuted Mr. Manzano for the crimes charged in

this case. This means that although you might conclude that the Government has

proven the charges it has pursued in this case, you nonetheless believe that that the

Government has proceeded in an unjust manner by bringing the charges at ali , or that,

although the evidence at trial satisfies one interpretation of the statutes defining the

crimes     charged,   the    Government's   interpretation   of those   statutes,   and   the

Government's application of that interpretation to the facts of this case, results in a

miscarriage of justice.

         Just as the Government seeks to hold the defendant accountable for what it

believes to be his misconduct, you can also hold the Government accountable in this

case for its decision to proceed to trial in this case on these facts by returning a verdict

of not guilty. One of your powers as jurors is to decide whether the Government has

justly proceeded in this prosecution . Among the factors you may consider is whether the

sentencing consequences of a conviction are fair, just and reasonable.




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        The rule of law depends on settled expectations of citizens and governmental

 agents all acting reasonably. You should use your power to rebuke the Government

 sparingly.

II.           Production of Child Pornography -- 18 U.S.C. Section 2251(a)

        The Government has charged Mr. Manzano in two counts, one alleging

production of child pornography, and the other alleging transportation of child

pornography. Each count must be considered separately, and a verdict returned as to

each count.


       In order to convict the defendant of either count of the indictment, the

Government must prove each and every element of the offense charged . The

Government must do so by persuading you beyond a reasonable doubt as to each

element of the offense. It is not enough that the Government prove one element of the

offense. Unless and until the Government proves each and every element of the offense

charged, the defendant is entitled to the presumption of innocence and your vote must

be not guilty as to that count.


       Both offenses charged are specific intent offenses. That means that the

government must show that the defendant had the conscious objective to engage in the

prohibited conduct.

       The count alleging production of child pornography, 18 U.S.C. Section 2251(a),

has three elements:

      First, the alleged victim was under the age of eighteen at the time.




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         It is a defense to a charge of sexual exploitation of a child that the defendant did

 not know, and could not reasonably have learned, that the child was under 18 years of

 age.


        The Government must disprove beyond a reasonable doubt that the defendant

 did not know and could not reasonably have learned that the alleged victim was under

 18 years of age.


        If you find by that the defendant did not know and could not reasonably have

learned that the child was under 18 years of age, you must find the defendant not guilty

of the charge of sexual exploitation of a child . (In part, based on: 8.186 Ninth Circuit

Pattern Jury Instructions. The defendant contends that it is the Government's burden to

disprove an affirmative defense.)


        Second, the defendant used the alleged victim in sexually explicit conduct.

        Third, the defendant knew or had reason to know that the images in question

would be transported across state lines or in foreign commerce . Ninth Circuit Pattern

Jury Instructions Section 8.181.

        "An act is done knowingly if the defendant is aware of the act and does not act

through ignorance, mistake, or accident. The government is not required to prove that

the defendant knew that his acts or omissions were unlawful. You may consider

evidence of the defendant's words, acts, or omissions , along with all the other evidence,

in deciding whether the defendant acted knowingly." Section 5.6 Ninth Circuit Pattern

Jury Instructions.




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 III.       Transportation of Child Pornography - Transportation of Child
            Pornography

         There are three elements to this offense. I remind you that, just as was the case

 in the first count, alleging production of child pornography, so, too, in this count, alleging

transportation of child pornography, the Government must prove each and every

element of the offense beyond a reasonable doubt. The Government's failure to prove

anyone of these elements requires you to give the defendant the benefit of the

presumption of innocence and to return a verdict of not guilty as to this count.


        First, the alleged victim must be under the age of eighteen.

        It is a defense to a charge of sexual exploitation of a child that the defendant did

not know, and could not reasonably have learned, that the child was under 18 years of

age.


        The Government must disprove beyond a reasonable doubt that the defendant

did not know and could not reasonably have learned that the alleged victim was under

18 years of age.


        If you find by that the defendant did not know and could not reasonably have

learned that the child was under 18 years of age, you must find the defendant not guilty

of the charge of sexual exploitation of a child. (In part, based on: 8.186 Ninth Circuit

Pattern Jury Instructions.)


        Second, the alleged child must be engaged in pornographic activity.




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       Third, the defendant must knowingly transport child pornography using any

means and facility of interstate and foreign commerce by any means, including a

computer.


       "An act is done knowingly if the defendant is aware of the act and does not act

through ignorance, mistake, or accident. The government is not required to prove that

the defendant knew that his acts or omissions were unlawful. You may consider

evidence of the defendant's words, acts, or omissions, along with all the other evidence,


in deciding whether the defendant acted knowingly." Section 5.6 Ninth Circuit Pattern

Jury Instructions.


                                               THE DEFENDANT



                                               By   /S/ NORM PATTIS /S/
                                                      NORMAN A. PATTIS
                                                      383 Orange Street, Front
                                                      New Haven, Ct 06511
                                                      203.393.3017
                                                      203.393.9745 (fax)
                                                      ct 13120
                                                      npattis@pattislaw.com




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                                      CERTIFICATION

          This is to certify that on October 22 , 2018 , a copy of the foregoing was filed
electronically. Notice of this filing will be sent, via e-mail, to all parties by operation of
the Court's electronic filing system , and the undersigned did cause to be sent, via First
Class U.S. mail , postage prepaid, a copy of the foregoing to all counsel and pro se
parties that do not have access to the Court's electronic filing system and to whom the
court directs the undersigned to send a hard copy via mail. Parties may access this
filing through the Court's system .

                                 /s/ NORMAN A. PATTIS /s




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